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 2
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     Attorney for Defendant
 5
     ANN VANCE
 6

 7

 8                                UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                          Case No.: 2:17-CR-0237 JAM
11
                    Plaintiff,
12
     vs.                                                STIPULATION AND ORDER FOR
13                                                      TEMPORARY RELEASE
14   ANN MARIE VANCE,
15                  Defendant.
16                                                      Court:       Hon. Edmund F. Brennan

17

18

19
            The parties to this action, Plaintiff United States of America by and through Assistant
20

21   United States Attorney Timothy Delgado and Defendant Ann Vance by and through her attorney

22   Todd D. Leras, request that the Court issue an order granting Ms. Vance a temporary release
23   from the Wayne Brown Correctional Facility in Nevada City, California, from Sunday, March
24
     31, 2019, at 9:00 a.m., to Tuesday, April 2, 2019, at 6:00 p.m., to attend the burial service for her
25
     father, Michael M. Tierney. The burial service is scheduled for Monday, April 1, 2019, at Fort
26

27   Snelling National Military Cemetery in Minneapolis/St. Paul, Minnesota. The period of

28   ORDER FOR TEMPORARY RELEASE
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 1   temporary release is required to allow roundtrip travel from Sacramento to Minneapolis/St. Paul,
 2
     Minnesota.
 3
            Ms. Vance’s father, Michael M. Tierney, died on Monday, March 25, 2019. Ms. Vance
 4
     was very close to her father, and his death represents a significant loss to her. Ms. Vance’s
 5

 6   family is paying for her flight to attend the burial service. Her nephew, Donald Tierney, has

 7   signed a $100,000 Appearance Bond in support of this Temporary Release Request.
 8
            Ms. Vance is currently in custody at the Wayne Brown Correctional Facility in Nevada
 9
     City, California. She has been held in pre-trial detention since December 7, 2017. She is
10
     charged by Indictment with various offenses related to distribution of methamphetamine and
11

12   being a felon in possession of firearms. Her matter is scheduled for Status Conference/Change

13   of Plea Hearing on April 9, 2019, before the Honorable John A. Mendez.
14
            The parties stipulate and agree that Ms. Vance be temporarily released from the Nevada
15
     County Jail to the third-party custody of Investigator Fred Scoville on March 31, 2019, from
16
     9:00 a.m., to Tuesday, April 2, 2019, at 6:00 p.m. In support of her request for temporary
17

18   release, Ms. Vance and her nephew, Donald Tierney, are simultaneously filing a $100,000

19   Appearance Bond in support of the temporary release.
20
            Ms. Vance’s activity will be limited to traveling from the Nevada County Jail to
21
     Minneapolis/St. Paul to attend the burial service for her father. Investigator Scoville will drive
22
     Ms. Vance to and from the airport, remain with her during the departing and return flights, and
23

24   retain third-party custody at all times until her return to the Nevada County Jail. Ms. Vance will

25   remain in the third-party custody of Investigator Scoville during the entire period of the
26
     Temporary Release.
27
            Assistant U.S. Attorney Timothy Delgado has approved of this request and authorized
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 1   Todd D. Leras via email to sign it on his behalf.
 2

 3
     DATED: March 28, 2019
 4                                                        By      /s/ Todd D. Leras for
                                                                  TIMOTHY DELGADO
 5
                                                                  Assistant United States Attorney
 6
     DATED: March 28, 2019                                By      /s/ Todd D. Leras
 7                                                                TODD D. LERAS
                                                                  Attorney for Defendant
 8
                                                                  ANN VANCE
 9

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12
                                                  ORDER
13
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, and
14

15   good cause appearing to exist, the Court orders the following:

16          1. Ann Vance (DOB: xx-xx-1968) shall be released from the Wayne Brown Correctional
17
                Facility in Nevada City, California on a “Temporary Out” on March 31, 2019, at 9:00
18
                a.m., to the temporary custody of Investigator Fred Scoville, who has agreed to as
19
                third-party custodian.
20

21          2. Upon temporary release, Ann Vance shall remain with the third-party custodian while

22              traveling from the Nevada County Jail to her father’s burial service at Fort Snelling
23
                National Cemetery, in Minneapolis/St. Paul, Minnesota on April 1, 2019.
24
                Investigator Scoville shall remain with Ms. Vance as third-party custodian at all
25
                times, including during the trip to and from the airport, during the departing and
26

27              return flights, and shall remain with her during the burial service.

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 1        3. Ms. Vance and her nephew, Donald Tierney, have signed and filed a $100,000
 2
             Appearance Bond in support of the Temporary Release.
 3
          4. Investigator Scoville shall return Ann Vance to the Wayne Brown Correctional
 4
             Facility by 6:00 p.m. on Tuesday, April 2, 2019.
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 6        IT IS SO ORDERED.

 7   DATED: MARCH 29, 2019
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28   ORDER FOR TEMPORARY RELEASE
